                        CASE 0:12-cr-00295-PAM-AJB Doc. 51 Filed 04/02/13 Page 1 of 1


                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA
                                                  PLEA HEARING
UNITED STATES OF AMERICA,                             )           COURT MINUTES - CRIMINAL
                      Plaintiff,                      )
                                                      )    Case No:              Cr. 12-295 (2) PAM/AJB
                        v.                            )    Date:                 April 2, 2013
                                                      )    Court Reporter:       Ron Moen
Julie Ann Campana,                                    )    Courthouse:           St. Paul
                                     Defendant.       )    Courtroom:            7D
                                                      )    Time Commenced:       10:40 am
                                                      )    Time Concluded:       11:00 am
                                                           Time in Court:        Hours & 20 Minutes

Defendant’s true name if different from charging instrument:
9 Parties ordered to file stipulation or proposed order for name change.
9 Clerk of Court is directed to change name to:

Before Paul A. Magnuson, United States District Judge, at St. Paul, Minnesota.

APPEARANCES:

       For Plaintiff:        Allen Slaughter
       For Defendant:        Andrew H. Mohring : FPD 9 CJA 9 Retained 9 Appointed

PROCEEDINGS:

       9 Arraignment on 9 Information, 9 Indictment
       : Change of Plea Hearing.
       9 Initial Appearance.
       9 Indictment waived.
       9 Defendant withdraws plea of as to Count(s):

       : PLEA:
          9 Guilty as to Count(s): 1
          9 Guilty as to All Counts without a Plea Agreement (Straight-up)
          9 "Nolo Contendere" as to Count(s):
          9 Defendant admits allegations in the Information.

       :      Presentence Investigation and Report requested.
       :      Bond continued.
       9      ~Util Set/Reset Hearings: Sentencing is scheduled for at before.
       9      Defendant remanded to the custody of the U.S. Marshal.
                                                                                                 s/Suzanne M. Ruiz
                                                                                                       Calendar Clerk




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